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                                                         U.S. Department of Justice

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                                                            March 27, 2020

Patricia S. Dodszuweit
Clerk of Court
United States Court of Appeals for the Third Circuit
601 Market St.
Philadelphia, PA 19106


 Re:     United States of America v. Safehouse, et al., Civil Action No. 20-1422


Dear Mrs. Dodszuweit,

        The Government writes to update the Court and Clerk’s Office as to likely next steps that
the Government will take in this matter. Currently pending before this Court is the parties’
briefing in response to the Court’s February 27, 2020 Order regarding the issue of appellate
jurisdiction. Separately pending before the District Court is the Government’s motion to stay the
declaratory judgment, which will be fully briefed as of today.

         Should the District Court deny the Government’s motion for a stay, the Government will
seek a stay of the declaratory judgment before this Court. This is consistent with the rule
requiring that the United States first move in the District Court for a stay before seeking that
relief from the Court of Appeals. Fed. R. App. P. 8(a)(1) and (a)(2). Separate and independent
from the stay issue, the Government will also move this Court for an expedited briefing schedule
on the merits of the Government’s appeal. We will propose that the Government file its opening
brief by May 15, 2020; appellees file their responding brief thirty days thereafter by June 15,
2020; and the Government file its reply brief fourteen days after that by June 29, 2020. We have
conferred with counsel for Safehouse/Appellees, and they do not object to the schedule that this
letter outlines.
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       We thank you for your consideration of this matter.

                                                   Respectfully,

                                                   WILLIAM M. McSWAIN
                                                   United States Attorney

                                                   /s/ Gregory B. David
                                                   GREGORY B. DAVID
                                                   Assistant United States Attorney
                                                   Chief, Civil Division
